_ ,Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 1of31 PagelD 499

law
\ \ IN THE UNITED STATES DISTRICT COURT -
(“ \\ v NORTHERN DISTRICT OF TEXAS gy fet tg
FORT WORTH DIVISION foes

KODIAK PRODUCTS Co., INC., §
§
Plaintiff, §
§

Vv. § Civil Action No. 4:03-CV-1474-Y
§
TIE DOWN, INC., §
§
Defendant. §

EMERGENCY MOTION, AND BRIEF IN SUPPORT THEREOF, TO QUASH
DEPOSITION NOTICES AND FOR PROTECTIVE ORDER
RELATING TO SAME

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

Plaintiff, Kodiak Products Co., Inc. (“Kodiak”), pursuant to Federal Rule of Civil
Procedure 26(c), requests this Court quash the deposition notices of William Glidewell and Jerry
Dolezal and enter a protective order relating to same.

BACKGROUND

Kodiak filed this action on December 23, 2003. On April 22, 2004, the Court issued its
Initial Scheduling Order, which provided the parties cease all discovery activity on October 15,
2004. On two separate occasions, July 14, 2004 and September 21, 2004, the parties submitted
agreed motions that included requests to extend this deadline. The Court granted both motions.
The deadline imposed by the final order modifying the scheduling order required the parties to
cease all discovery activity on January 30, 2005.

On December 28, 2004, Tie Down, Inc. (“Tie Down”) served a Notice of Taking
Deposition of William Glidewell for January 17, 2005. A copy of this notice is attached as

Exhibit “1” to the Affidavit of Bryon L. Romine (“Romine Aff”), which is attached as Exhibit

EMERGENCY MOTION, AND BRIEF IN SUPPORT THEREOF, TO QUASH DEPOSITION NOTICES
AND FOR PROTECTIVE ORDER RELATING TO SAME - Page 1
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 2of31 PagelD 500

“A” to this Motion. Counsel for Tie Down agreed to withdraw the notice as it appeared at that
time settlement negations might bear fruit. (Romine Aff. { 2.)

During the week of January 17, 2005, when settlement negotiations stalled, counsel for
Tie Down sought dates, specifically January 27, 2005, for the depositions of both Glidewell, and
for the first time, Dolezal, an employee of Kodiak. (Romine Aff. {[ 3.)

On Friday January 21, 2005, Kodiak offered to enter a stipulation dismissing this case
with prejudice. A copy of the correspondence enclosing the proposed stipulation is attached as
Exhibit “2” to the Romine Affidavit. Tie Down refused to enter the stipulation as proposed, but
conditioned its agreement to dismiss the case on extending the discovery period three months in
order to seek evidence to support a claim for attorneys’ fees. A copy of Tie Down’s proposed
stipulation is attached as Exhibit “3” to the Romine Aff. In response to this unreasonable
condition, counsel for Kodiak informed counsel for Tie Down it intended to simply file a Motion
to Dismiss, without Tie Down’s stipulation.’ (Romine Aff. J 4.)

In spite of this, Tie Down continued to seek additional depositions. In order to avoid
engaging in discovery battles relating to satellite litigation (which, despite its best efforts, it has
not), Kodiak’s counsel engaged in informal discussions concerning Glidewell’s deposition. In
addition to dates, counsel for the parties discussed the length and scope of the deposition.
However, Kodiak never agreed to produce Dolezal for deposition after the close of discovery.
(Romine Aff. 7 5.)

On January 27, 2005, Tie Down served notices of deposition for both Glidewell and
Dolezal for February 9, 2005. A copy of the notices and correspondence from Tie Down’s
counsel concerning the notices is attached as Exhibit “4” to the Romine Aff. Counsel for Kodiak

immediately sent correspondence to counsel for Tie Down seeking its withdrawal of the Dolezal

' Kodiak’s Motion to Dismiss with Prejudice has been filed contemporaneously with this Motion.

EMERGENCY MOTION, AND BRIEF IN SUPPORT THEREOF, TO QUASH DEPOSITION NOTICES
AND FOR PROTECTIVE ORDER RELATING TO SAME - Page 2
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 3o0f31 PagelD 501

notice. The letter also sought a written stipulation concerning the length and scope of the
Glidewell deposition as conditions to producing him after the close of discovery. A copy of this
correspondence is attached as Exhibit “5” to the Romine Aff.

By a letter dated January 31, 2005, Counsel for Tie Down refused to enter the written
stipulation. A copy is attached as Exhibit “6” to the Romine Aff.

Kodiak agrees with many of the statements in the letter, but not all. Kodiak agrees that
many of the discussions concerning Glidewell’s deposition arose in the context of settlement
discussions -- if the case did not settle, but rather appeared to be going to trial, depositions would
be allowed. However, a disagreement between the parties exists concerning the content of
discussions concerning Glidewell’s deposition after Kodiak announced it intention to dismiss the
case -- namely the limits on the deposition. (Romine Aff. { 8.)

Despite Tie Down’s assertion to the contrary, counsel for the parties discussed the limits
in the proposed Rule 29 stipulation. Counsel for Tie Down was specifically asked how much
time would be required to take Glidewell’s deposition. Counsel responded he could take the
deposition in a half a day. Counsel was also asked, given that Kodiak intended to seek the
dismissal of the case, why he needed the deposition. Counsel responded that, given his
interpretation of the case law governing attorneys’ fee awards under the Lanham Act, he desired
testimony concerning the merits of the case. (Romine Aff. § 9.) The proposed Rule 29
stipulation sought to memorialize these discussions and hold counsel to his representations.

ARGUMENTS AND AUTHORITIES

The Court should quash the Glidewell and Dolezal deposition notices and enter a

protective order relating to same because: 1) Tie Down seeks these depositions after the close of

the discovery period; 2) Tie Down has already far exceeded the number of depositions

EMERGENCY MOTION, AND BRIEF IN SUPPORT THEREOF, TO QUASH DEPOSITION NOTICES
AND FOR PROTECTIVE ORDER RELATING TO SAME - Page 3
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 4of31 PagelD 502

authorized by the Federal Rules of Civil Procedure; and 3) given Kodiak has filed it’s a motion
to dismiss the case with prejudice, Tie Down seeks the depositions solely as a tool of harassment
and annoyance.

Tie Down seeks to depose Glidewell and Dolezal on February 9, 2005, in spite of the
Court’s entry of an agreed order that provided all discovery cease January 30, 2005. Moreover,
Tie Down has already taken 16 depositions in this case. Federal Rule of Civil Procedure
30(2)(A) requires a court order to take more than 10.

Kodiak engaged in preliminarily discussions concerning the Glidewell deposition, even
after it announced its intent to seek a dismissal of the case. But the parties never reached a final
agreement -- counsel for Tie Down has refused to sign a written stipulation pursuant to Federal
Rule of Civil Procedure 29. Moreover, Kodiak never agreed, orally or in writing, to the
deposition of Dolezal outside the discovery period. The purpose of Rule 29 is to avoid disputes
concerning informal oral agreements and “understandings”, and wasting judicial resources in
resolving such disputes. See Tropix, Inc. v. Lyon & Lyon, 169 F.R.D. 3, 3-4 (D. Mass. 1996);
Byrd v. Byrd 1998 U.S. Dist. LEXIS 11855 *8-9 (D.D.C. February 12, 1998). Thus, under Rule
29, oral agreements relating to discovery are not enforceable. See Pertrucelli v. Bohringer &
Ratzinger, GMBH, 46 F.3d 1298, 1310 (3™ Cir. 1995).

In addition, Tie Down seeks these depositions in spite of Kodiak’s clear expression of its
intent to seek dismissal of the case. The only conceivable basis for these depositions now is to
annoy and harass Kodiak. This is especially true in the case of Glidewell, given Tie Down has
already cross-examined him in open court at the preliminary injunction hearing held September

9, 2004. Any testimony concerning the “merits of the case” Tie Down feels is required to

* Tie Down submitted transcripts of these depositions in support of its opposition to Kodiaks requested preliminary
injunction.

EMERGENCY MOTION, AND BRIEF IN SUPPORT THEREOF, TO QUASH DEPOSITION NOTICES
AND FOR PROTECTIVE ORDER RELATING TO SAME - Page 4
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page5of31 PagelD 503

support its claim for attorney fees’ was, or could have been, obtained in this cross-examination.
The Court is authorized to protect parties from the harassment and annoyance, as well and the
undue burden and expense, the depositions will involve. See FED. R. CIv. PRO. 26(c).
RELIEF REQUESTED

Because Tie Down seeks the depositions of Glidewell and Dolezal outside the discovery
period and no written stipulation exists authorizing such depositions, Kodiak seeks an Order
from the Court quashing the deposition notices and entry of a protective order relating to same.
Moreover, because the depositions have been noticed for February 9, 2005, Kodiak requests this
Motion be granted ex parte or, in the alternative, that Tie Down be ordered to file a response by

such time that will allow the Court to determine the Motion prior to February 9, 2005.

Respectfully submitted,
By: Wn., x fe
GARY 9. KESSLER

Texas Bar No. 11358200
BRYON L. ROMINE
Texas Bar No. 24029804

KESSLER & COLLINS

A Professional Corporation
5950 Sherry Lane
Suite 222
Dallas, Texas 75225
214.379.0722
214.373.4714 (Facsimile)

ATTORNEYS FOR KODIAK PRODUCTS
CO., INC.

EMERGENCY MOTION, AND BRIEF IN SUPPORT THEREOF, TO QUASH DEPOSITION NOTICES
AND FOR PROTECTIVE ORDER RELATING TO SAME - Page 5
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page6of31 PagelD 504

CERTIFICATE OF SERVICE

I certify that a true and correct copy of Plaintiff's Emergency Motion, and Brief in
Support Thereof, to Quash Dgposition Notices and Protective Order Relating to Same was
served via facsimile on the | * day of January, 2005, on the following counsel of record:

J. Alexander Porter
Porter & Orrison, LLP
3400 Peachtree Rd. N.E.
1135 Lenox Towers
Atlanta, Georgia 30326

5.4. 272.

BRYON L. ROMINE

CERTIFICATE OF CONFERENCE

I certify that this Emergency Motion to Quash and for Protective Order is opposed.
Counsel for Kodiak Products Co., Inc and counsel for Tie Down, Inc., J. Alexander Porter,
exchanged correspondence dated January 27, 2005 and January 31, 2005 in an attempt to resolve
the issues underlying this Motion, but were unable to reach an agreement. Kodiak maintains it
never agreed to allow Tie Down to take the deposition of Jerry Dolezal after the close of the
discovery period and after it filed a Motion to Dismiss. The parties disagree on the terms of an
informal, oral agreement concerning the deposition of William Glidewell.

Bion PT

~ BRYON L. ROMINE

EMERGENCY MOTION, AND BRIEF IN SUPPORT THEREOF, TO QUASH DEPOSITION NOTICES
AND FOR PROTECTIVE ORDER RELATING TO SAME - Page 6
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 7of31 PagelD 505

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION

KODIAK PRODUCTS, INC., §

Plaintiff,

v. Civil Action No. 4:03-CV-1474-Y
TIE DOWN, INC.,

Defendant. :

AFFIDAVIT OF BRYON L. ROMINE
1. My name is Bryon L. Romine. I am over the age of 21 years. I am counsel for

Kodiak Products, Inc. and have personal knowledge of the facts stated in this Affidavit and the
facts stated in this Affidavit are all true and correct.

2. Attached as Exhibit “1” to this Affidavit is a true and correct copy of a Notice of
Taking Deposition of William Glidewell served by Tie Down on December 28, 2004. In
discussions I had with its counsel, Tie Down agreed to withdraw the notice as it appeared at that
time settlement negations might bear fruit.

3. During the week of January 17, 2005, when it appears settlement negotiations
were going nowhere, counsel for Tie Down sought dates, specifically January 27, 2005, for the
depositions of both Glidewell, and for the first time, Dolezal, an employee of Kodiak.

4. On Friday January 21, 2005, Kodiak offered to enter a stipulation dismissing this
case with prejudice. A true and correct copy of the correspondence enclosing the proposed
stipulation is attached as Exhibit “2” to this Affidavit. Tie Down refused to enter the stipulation
as proposed, but instead conditioned its agreement to dismiss the case on extending the discovery
period three months in order to seek evidence to support a claim for attorneys’ fees. A copy of
Tie Down’s proposed stipulation is attached as Exhibit “3” to this Affidavit. In response to this
unreasonable condition, counsel for Kodiak informed counsel for Tie Down it intended to simply
file a Motion to Dismiss, without Tie Down’s stipulation.

5. In spite of this, Tie Down continued to seek additional depositions. In order to
avoid engaging in discovery battles relating to satellite litigation (which, despite its best efforts,
it has not), Kodiak’s counsel, including myself, engaged in informal discussions concerning
Glidewell’s deposition. In addition to dates, counsel for the parties discussed the length and
scope of the deposition. Kodiak, however, never agreed to produce Dolezal after the close of
discovery.

6. On January 27, 2005, Tie Down served notices of deposition for both Glidewell
and Dolezal for February 9, 2005. A true and correct copy of the notices and correspondence
from Tie Down’s counsel concerning the notices is attached as Exhibit “4” to this Affidavit. I

AFFIDAVIT OF BRYON L. ROMINE - Page 1

Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 8of31 PagelD 506

immediately sent correspondence to counsel for Tie Down seeking Tie Down’s withdrawal of
the Dolezal notice. The letter also sought a written stipulation concerning the length and scope
of the Glidewell deposition as conditions to producing him after the close of the discovery
period. A tme and correct copy of this correspondence is attached as Exhibit “5” to this
Affidavit.

7. Attached as Exhibit “6” to this Affidavit is a true and correct copy of
correspondence received from counsel for Tie Down refusing to enter the stipulation.

8. Kodiak agrees with statements in Exhibit 6, including that many of the
discussions concerning Glidewell’s deposition arose in the context of settlement discussions -- if
the case did not settle, but rather appeared to be going to trial, depositions would be allowed.
However, Kodiak disagrees with the content letter relating to discussions concerning Glidewell’s
deposition after Kodiak announced it intention to dismiss the case -- namely the limits on the
deposition.

9. After Tie Down continued it pursuit of depositions after Kodiak indicated its
intent to seek a dismissal of the case, counsel for Tie Down was specifically asked how much
time would be required to take Glidewell’s deposition. Counsel was also asked why he needed
the deposition. Counsel responded that, given his interpretation of the case law governing
attorneys’ fee awards under the Lanham Act, he desired testimony concerning the merits of the
case.

EXECUTED this 21? day of January 2005, in Dallas County, Texas.

B22

~~ BRYON L. ROMINE

SWORN TO AND SUBSCRIBED BEFORE ME, this day of January, 2005.

[SEAL]

Notary Public, State of Texas

Print:

AFFIDAVIT OF BRYON L. ROMINE - Page 2
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 9of31 PagelD 507

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION
KODIAK PRODUCTS CoO., INC., )
)
)
Plaintiff, )
) Civil Action No. 4:03-CV-1474-Y
v. )
)
TIE DOWN, INC., j
)
Defendant. )

NOTICE OF TAKING OF DEPOSITION

To: Plaintiff Kodiak Products Co., Inc. by and through its counsel of record Bryon L.

Romine, Kessler & Collins, 5950 Sherry Lane, Suite 222, Dallas Texas 75225

Please take notice that the Defendant Tie Down, Inc. in the above-styled action
will take the deposition of William Glidewell , managing agent of Plaintiff, commencing
at 9:30 am o’clock Central Time, on January18, 2004, at the offices of FORD WHITE
& NASSEN P.C. 8080 North Central Expressway Suite 1600, LB 65, Dallas, Texas
75206-1819

This deposition will be taken before an officer duly authorized to

administer oaths, and shall continue from day to day unti! completion. Said deposition
will be taken on oral examination pursuant to the Federal Rules of Civil Procedure and
for all purposes of cross examination of an adverse party and for all other purposes

authorized by those Rules and any other applicable rules. You are invited to attend.
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 10of 31 PagelD 508

CERTIFICATE OF SERVICE

The undersigned certifies that a true and correct copy of the above and foregoing
documents has been served on the following counsel of record on this the AE day of
Decenber, 2004:

Gary S. Kessler, Esq.

Bryon L. Romine

Kessler & Collins

5950 Sherry Lane, Suite 222
Dallas, Texas 75225

Facsimile: (214)373-4714 Vlas
Aton

J. Alefander Porter

PORTER & ORRISON, LLP
Lenox Towers Suite 1135
3400 Peachtree Road, N.E.
Atlanta, Georgia 30326
Telephone: (404)233-2334
Facsimile: (404)231-5318
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 11of31 PagelD 509

jp Jun. a OO 6
(Olen © up Cums Came Gur. Gn.

ATTORNEYS AT LAW
A PROFESSIONAL GORPORATION

January 21, 2005

THIS CORRESPONDENCE CONSTITUTES A SETTLEMENT COMMUNICATION
UNDER FEDERAL RULE OF EVIDENCE 408.

VIA EMAIL - aporter@porterorrison.com

Mr. J. Alexander Porter
PORTER & ORRISON, LLP
3400 Peachtree Road, N.E.
1135 Lenox Towers

Atlanta, Georgia 30326

Re: Kodiak Products Co., Inc. v. Tie Down, Inc.; Civil Action No. 4-03CV1474-Y; Filed in
the U.S. District Court, Northern District of Texas, Fort Worth Division

Dear Alex:

I have enclosed with this letter a proposed Stipulation of Dismissal and Order relating to same.
Because Kodiak no longer wishes to pursue its claims, I believe this is the most efficient method
for resolving this matter.

It is my understanding that the sole basis for your client’s refusal to agree to dismiss this case is
Tie Down’s desire to recover its attorneys’ fees under the Lanham Act. The enclosed Stipulation
reserves Tie Down’s right to seek its fees. However, it also reserves Kodiak’s right to seek its
fees in defense of Tie Down’s claim under 28 U.S.C. § 1927 and Rule 11.

As you are aware, in order to recover fees, Tie Down will be required to show that this is an
“exceptional case” by “clear and convincing evidence.” Procter & Gamble Co. v. Amway Corp.,
280 F.3d 519, 526 (5" Cir. 2002). In order to demonstrate an exceptional case in the Fifth
Circuit, a defendant must show the case was brought in bad faith. Scott Fetzer Co. v. House of
Vacuums, Inc. 381 F.3d 477, 490 on Cir. 2004). This is not an exceptional case.

The Court, while denying the preliminary injunction on the evidence presented at our
abbreviated trial, did not see this as an implausible case. It took the Court two months to issue a
31-page opinion, with an extensive review of the facts. It relied om cases not cited by either

5950 Sherry Lane - Suite 222 + Dallas, Texas 75225 - (214) 379-0722 - Fax (214) 373-4714 EXH ar
AR

2

ree cE
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 12o0f31 PagelD 510

Mr. J. Alexander Porter
January 21, 2005
Page 2

party. Many of the factors it weighed supported Kodiak’s claim. Most importantly, the Court
found Tie Down intentionally copied Kodiak’s design. See Order Denying Motion for
Preliminary Injunction at 21. We have also engaged an expert who we think the Court will
consider persuasive in defense of an attorney fee claim.

The proposed stipulation should satisfy. If your client insists in pursuing satellite litigation,
please accept this letter of notice we will seek Kodiak’s fees in defense of its claims.

Please contact me or Gary Kessler at your earliest convenience to discuss this offer.

mA 7

Bryon Lé Romine

Sincerely,

BLR/tbm
Enclosure

cc: Kodiak Products Co., Inc.

KESSLER+COLLINS
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 13 of 31 PagelD 511

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION
KODIAK PRODUCTS Co., INC., §
Plaintiff,
v. : Civil Action No. 4:03-CV-1474-Y
TIE DOWN, INC.,
Defendant. :
STIPULATION OF DISMISSAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

COME NOW Plaintiff Kodiak Product Co., Inc. (“Kodiak”) and Defendant Tie Down,
Inc. (“Tie Down”) (together the “Parties”) and, pursuant to Federal Rule of Civil Procedure
41(a)(1)(ii), file this, their Stipulation of Dismissal.

The Parties, by and through their respective counsel, stipulate to dismiss this action with
prejudice, each party to bear its own costs.

Defendant, however, reserves its rights to pursue a claim for attorneys’ fees pursuant to
15 U.S.C. §1117(a) after entry of the Order of Dismissal. Plaintiff reserves the right to seek fees
pursuant to 28 U.S.C. § 1927 and Federal Rule of Civil Procedure 11 incurred in defending

Defendant’s pursuit of attorneys’ fees, if any.

STIPULATION OF DISMISSAL — Page 1
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 14 of 31 PagelD 512

Respectfully submitted,

KESSLER & COLLINS, P.C.

GARY S. KESSLER
Texas Bar No. 11358200
BRYON L. ROMINE
Texas Bar No. 24029804

5950 Sherry Lane

Suite 222

Dallas, Texas 75225
214.379.0722
214.373.4714 (Facsimile)

ATTORNEYS FOR KODIAK
PRODUCTS CO., INC.

PORTER & ORRISON, LLP

J. ALEXANDER PORTER
Georgia Bar No. 384700

3400 Peachtree Road, N.E.
1135 Lenox Towers
Atlanta, Georgia 30326
(404) 233-2334

(404) 231-5318 (Facsimile)

ATTORNEY FOR TIE DOWN, INC.

CERTIFICATE OF SERVICE

I certify that a true and correct copy of Plaintiff's Motion for Preliminary Injunction was
served via certified mail, return receipt requested on the day of January, 2005, on the

following counsel of record:

J. Alexander Porter
Porter & Orrison, LLP
3400 Peachtree Rd. N.E.
1135 Lenox Towers
Atlanta, Georgia 30326

GARY S. KESSLER

STIPULATION OF DISMISSAL — Page 2
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 15of31 PagelD 513

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION
KODIAK PRODUCTS Co., INC., §
Plaintiff, :
v. : Civil Action No. 4:03-CV-1474-Y
TIE DOWN, INC., ;
Defendant. ;

AGREED ORDER ON STIPULATION TO DISMISS
Before the Court is the Parties’ Stipulation of Dismissal. The Court has reviewed it, and
good cause appearing, it is ORDERED that:
1) This matter is dismissed with prejudice, each party to bear its own costs;
2) The Court retains jurisdiction of this matter for the purposes of any application by
Defendant for an ward of attorneys’ fees under 15 U.S.C. § 1117(a) and Plaintiff's pursuit of fees
under 28 U.S.C. § 1927 and Federal Rule of Civil Procedure 11 in response to such application

for fees.

Signed:

JUDGE PRESIDING

AGREED ORDER ON STIPULATION TO DISMISS - Page 1
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 16o0f31 PagelD 514

AGREED:

KESSLER & COLLINS, P.C.

GARY S. KESSLER
Texas Bar No. 11358200
BRYON L. ROMINE
Texas Bar No. 24029804

5950 Sherry Lane

Suite 222

Dallas, Texas 75225
214.379.0722
214.373.4714 (Facsimile)

ATTORNEYS FOR KODIAK
PRODUCTS Co., INC.

PORTER & ORRISON, LLP

J. ALEXANDER PORTER
Georgia Bar No. 384700

3400 Peachtree Road, N.E.
1135 Lenox Towers
Atlanta, Georgia 30326
(404) 233-2334

(404) 231-5318 (Facsimile)

ATTORNEYS FOR TIE DOWN, INC.

AGREED ORDER ON STIPULATION TO DISMISS — Page 2
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page17 of 31 PagelD 515

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

KODIAK PRODUCTS CoO., INC.,
Plaintiff,

Civil Action No. 4:03-CV-1474-Y
V.

TIE DOWN, INC.,

New Neem Nee” Nene Nenana eee Nee Nee ee ne”

Defendant.

STIPULATION OF DISMISSAL WITH PREJUDICE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

COME NOW Plaintiff Kodiak Product Co., Inc. (“Kodiak”) and Defendant Tie
Down, Inc. (“Tie Down’) (together the “Parties”) and, pursuant to Federal Rule of Civil
Procedure 41(a)(1)(ii), file this, their Stipulation of Dismissal.

The Parties, by and through their respective counsel, stipulate to the dismissal
with prejudice of Plaintiff's complaint, as amended.

Defendant, however, reserves its rights to pursue any claims which it may name
for its attorneys fees and costs after entry of the Order of Dismissal. Plaintiff reserves
the right to seek fees pursuant to 28 U.S.C. §1927 and Federal Rule of Civil Procedure 11
incurred in defending against any claim by Defendant for attorneys fees.

The parties further stipulate that any such motion by Defendant for attorneys’ fees
must be filed within 120 days of entry by the Court of an Agreed Order on Stipulation to
Dismiss and that Defendant is entitled to discovery for a period of 90 days from filing of
such order limited to the issue of its entitlement, if any, to attorneys fees and costs.

EXHIBM 5

STIPULATION OF DISMISSAL WITH PREJUDICE ee PAGE 1
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 18 of 31 PagelD 516

Respectfully submitted,

KESSLER & COLLINS, P.C. PORTER & ORRISON, LLP
GARY S. KESSLER J. ALEXANDER PORTER
Texas Bar No. 11358200 Georgia Bar No. 584700

BYRON L. ROMINE
Texas Bar No. 24029804

5950 Sherry Lane 3400 Peachtree Rd., N.E.
Suite 222 Suite 1135, Lenox Towers
Dallas, Texas 75225 Atlanta, Georgia 30326
214/379-0722 404/233-2334
214/373-4714 (facsimile) 404/231-5318 (facsimile)
ATTORNEYS FOR KODIAK ATTORNEYS FOR
PRODUCTS CoO., INC. TIE DOWN, INC.

CERTIFICATE OF SERVICE

I certify that a true and correct copy of Stipulation for Dismissal with Prejudice
was served via certified mail, return receipt requested on the day of January, 2005,
on the following counsel of record:

J. Alexander Porter
Porter & Orrison, LLP
3400 Peachtree Rd., N.E.
1135 Lenox Towers
Atlanta, Georgia 30326

GARY S. KESSLER

STIPULATION OF DISMISSAL WITH PREJUDICE PAGE 2
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 19 of 31 PagelD 517

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

KODIAK PRODUCTS Co., INC.,
Plaintiff,
Civil Action No. 4:03-CV-1474-Y

Vv.

TIE DOWN, INC.,

Defendant.

AGREED ORDER ON STIPULATION OF DISMISSAL WITH PREJUDICE

Before the Court is the Parties’ Stipulation of Dismissal. The Court has reviewed
it, and good cause appearing, it is ORDERED that:

1) Plaintiff's Complaint, as amended, is hereby dismissed with prejudice;

2) The Court retains jurisdiction of this matter for the purposes of any
application by Defendant for an award of attorneys’ fees and costs and Plaintiff’s pursuit
of fees under 28 U.S.C. §1927 and Federal Rule of Civil Procedure 11 in response to
such application for fees. Any such application by Defendant must be filed within 120
days of the date of entry of this Order;

3) Defendant is granted a period of 90 days from entry of this order to make
discovery, limited to the issue of entitlement, if any, to attorneys fees and costs.

DATED:

JUDGE PRESIDING

AGREED ORDER ON STIPULATION OF DISMISSAL WITH PREJUDICE PAGE 1

Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 20 of 31 PagelD 518

The above and foregoing is hereby agreed to.

KESSLER & COLLINS, P.C. PORTER & ORRISON, LLP
GARY S. KESSLER J. ALEXANDER PORTER
Texas Bar No. 11358200 Georgia Bar No. 584700

BYRON L. ROMINE
Texas Bar No. 24029804

5950 Sherry Lane 3400 Peachtree Rd., N.E.
Suite 222 Suite 1135, Lenox Towers
Dallas, Texas 75225 Atlanta, Georgia 30326
214/379-0722 404/233-2334
214/373-4714 (facsimile) 404/231-5318 (facsimile)
ATTORNEYS FOR KODIAK ATTORNEYS FOR
PRODUCTS CO., INC. TIE DOWN, INC.

CERTIFICATE OF SERVICE

I certify that a true and correct copy of a Agreed Order on Stipulation for
Dismissal with Prejudice was served via certified mail, return receipt requested on the __
day of January, 2005, on the following counsel of record:

J. Alexander Porter
Porter & Orrison, LLP
3400 Peachtree Rd., N.E.
1135 Lenox Towers
Atlanta, Georgia 30326

GARY S. KESSLER

AGREED ORDER ON STIPULATION OF DISMISSAL WITH PREJUDICE PAGE 2
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 21 0f 31 PagelD 519

PORTER & ORRISON, LLP
ATTORNEYS AT LAW
1135 LENOX TOWERS
3400 PEACHTREE ROAD, N. E.
ATLANTA, GEORGIA 30326
404/233-2334
J. ALEXANDER PORTER FACSIMILE 404/231-5318

January 27, 2005

VIA FACSIMILE/AND
FEDERAL EXPRESS

Bryon Romine, Esq.
Kessler & Collins, P.C.
5950 Sherry Lane
Suite 222

Dallas, TX 75225

Re: Kodiak Products Co., Inc. v. Tie Down, Inc.,
Civil Action No. 4-03CV1474-Y
In the U.S. District Court for the Northern District
of Texas, Forth Worth Division

Dear Bryan:

I received your e-mail of today wherein you request that we schedule the
“deposition” for February 9, 2005. As you know I have been trying to schedule two
depositions. Enclosed herewith are deposition notices for the taking of depositions of
Mr. Glidewell and Mr. Dolezal on February 9, 2005 at the offices of Ford, White, &
Nassen, P.C. Of course, I am willing to take these depositions in your office, but we had
not discussed that previously.

Best regards.

Very truly yours,

JAP/ewh
cc: Charles J. MacKarvich
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 22 of 31 PagelD 520

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION
KODIAK PRODUCTS Co., INC., )
)
)
Plaintiff, )
) Civil Action No. 4:03-CV-1474-Y
V. )
)
TIE DOWN, INC., )
)
Defendant. )

NOTICE OF TAKING OF DEPOSITION

To: Plaintiff Kodiak Products Co., Inc. by and through its counsel of record Bryon L.

Romine, Kessler & Collins, 5950 Sherry Lane, Suite 222, Dallas Texas 75225

Please take notice that the Defendant Tie Down, Inc. in the above-styled action
will take the deposition of William Glidewell , managing agent of Plaintiff, commencing
at 9:00 am o’clock Central Time, on February 9, 2005, at the offices of FORD WHITE
& NASSEN P.C. 8080 North Central Expressway Suite 1600, LB 65, Dallas, Texas
75206-1819

This deposition will be taken before an officer duly authorized to

administer oaths, and shall continue from day to day until completion. Said deposition
will be taken on oral examination pursuant to the Federal Rules of Civil Procedure and
for all purposes of cross examination of an adverse party and for all other purposes

authorized by those Rules and any other applicable rules. You are invited to attend.

NOTICE OF TAKING OF DEPOSITION PAGE 1
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 23 of 31 PagelD 521

Respectfully submitted,

JRO

J. ALEXANDER PORTER
Georgia Bar Number 584700
Admitted Pro Hac Vice
Lenox Towers Suite 1135
3400 Peachtree Road, N.E.
Atlanta, Georgia 30326
Telephone: (404)233-2334
Facsimile: (404)231-5318

Of Counsel:

FORD WHITE & NASSEN P.C.
DONALD F. HAWBAKER
Texas Bar No. 09243300

8080 North Central Expressway
Suite 1600, LB 65

Dallas, Texas 75206-1819
Telephone: (214)523-5100
Facsimile: (214)521-4601

ATTORNEYS FOR DEFENDANT
TIE DOWN, INC.

NOTICE OF TAKING OF DEPOSITION PAGE 2
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 24 of 31 PagelD 522

CERTIFICATE OF SERVICE

The undersigned certifies that a true and correct copy of the above and foregoing

documents has been served on the following counsel of record on this the dl T day of

ha \. , 2005:

Gary S. Kessler, Esq.

Bryon L. Romine

Kessler & Collins

5950 Sherry Lane, Suite 222
Dallas, Texas 75225
Facsimile: (214)373-4714

Whex Lt

J. Alexander Porter

PORTER & ORRISON, LLP
Lenox Towers Suite 1135
3400 Peachtree Road, N.E.
Atlanta, Georgia 30326
Telephone: (404)233-2334
Facsimile: (404)231-5318

NOTICE OF TAKING OF DEPOSITION PAGE 3
“ Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 25 of 31 PagelD 523

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION
KODIAK PRODUCTS Co., INC., )
)
)
Plaintiff, )
) Civil Action No. 4:03-CV-1474-Y
V. )
)
TIE DOWN, INC., )
)
Defendant. )

NOTICE OF TAKING OF DEPOSITION

To: Plaintiff Kodiak Products Co., Inc. by and through its counsel of record Bryon L.

Romine, Kessler & Collins, 5950 Sherry Lane, Suite 222, Dallas Texas 75225

Please take notice that the Defendant Tie Down, Inc. in the above-styled action
will take the deposition of Jerry Dolezal , managing agent of Plaintiff, commencing at
1:00 pm o’clock Central Time, on February 9, 2005, at the offices of FORD WHITE &
NASSEN P.C. 8080 North Central Expressway Suite 1600, LB 65, Dallas, Texas 75206-
1819

This deposition will be taken before an officer duly authorized to

administer oaths, and shall continue from day to day until completion. Said deposition
will be taken on oral examination pursuant to the Federal Rules of Civil Procedure and
for all purposes of cross examination of an adverse party and for all other purposes

authorized by those Rules and any other applicable rules. You are invited to attend.

NOTICE OF TAKING OF DEPOSITION PAGE 1
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 26 of 31 PagelD 524

Respectfully submitted,

eta Wt

J. ALEXANDER PORTER
Georgia Bar Number 584700
Admitted Pro Hac Vice
Lenox Towers Suite 1135
3400 Peachtree Road, N.E.
Atlanta, Georgia 30326
Telephone: (404)233-2334
Facsimile: (404)231-5318

Of Counsel:

FORD WHITE & NASSEN P.C.
DONALD F. HAWBAKER
Texas Bar No. 09243300

8080 North Central Expressway
Suite 1600, LB 65

Dallas, Texas 75206-1819
Telephone: (214)523-5100
Facsimile: (214)521-4601

ATTORNEYS FOR DEFENDANT
TIE DOWN, INC.

NOTICE OF TAKING OF DEPOSITION PAGE 2
“= Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 27 of 31 PagelD 525

CERTIFICATE OF SERVICE

The undersigned certifies that a true and correct copy of the above and foregoing

documents has been served on the following counsel of record on this the Ad] day of

YOM. 2005:

Gary S. Kessler, Esq.

Bryon L. Romine

Kessler & Collins

5950 Sherry Lane, Suite 222
Dallas, Texas 75225
Facsimile: (214)373-4714

J Ata Pas

J. Alexander Porter

PORTER & ORRISON, LLP
Lenox Towers Suite 1135
3400 Peachtree Road, N.E.
Atlanta, Georgia 30326
Telephone: (404)233-2334
Facsimile: (404)231-5318

NOTICE OF TAKING OF DEPOSITION PAGE 3
Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 28 of 31 PagelD 526

pee OR. at. OOP OD 5

‘OR © ame Ouue Guus Game)

ATTORNEYS AT LAW
A PROFESSIONAL GORPORATION

January 27, 2005

VIA EMAIL - aporter@porterorrison.com

Mr. J. Alexander Porter
PORTER & ORRISON, LLP
3400 Peachtree Road, N.E.
1135 Lenox Towers

Atlanta, Georgia 30326

Re: Kodiak Products Co., Inc. v. Tie Down, Inc.; Civil Action No. 4-03CV1474-Y; Filed in
the U.S. District Court, Northern District of Texas, Fort Worth Division

Dear Alex:

I have received your deposition notices for Mr. Glidewell and Mr. Dolezal. This appears to be
another instance you are attempting to take a mile when given an inch. We have verbally agreed
to produce Mr. Glidewell after the close of the discovery period, based upon the assumption his
would be the only deposition taken. We have never agreed to produce Mr. Dolezal or agreed to a
wholesale extension of the discovery deadline.

Please withdraw your Notice of Deposition for Mr. Dolezal or we will withdraw our consent to
produce any witnesses. If you agree to withdraw Mr. Dolezal’s notice, we will agree to produce
Mr. Glidewell for deposition at our office subject to the conditions we discussed: 1) the scope of
the deposition will be limited to factual issues concerning Kodiak’s claims; 2) the deposition will
be limited in time to a half a day (four (4) hours). If these conditions are acceptable, please sign
in the space below for purposes of Federal Rule of Civil Procedure 29.

If you are unwilling to withdraw your notice or refuse to return a signed copy of this letter to my

attention by facsimile by 5:00 pm CST tomorrow, accept this letter for certificate of conference
purposes relating to our Motion for Protective Order.

5950 Sherry Lane . Suite 222 « Dallas, Texas 75225 - (214) 379-0722 » Fax (214) 373-4714 5 ed fe a,
mARIBY

Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 29 of 31 PagelD 527

Mr. J. Alexander Porter
January 27, 2005
Page 2

Sincerely,

Een 272.

Bryon L. Romine
BLR/tbm

AGREED:

J. Alexander Porter, attorney for Defendant Tie Down, Inc.

ce: Kodiak Products Co., Inc.

KESSLER-COLLINS

Valea mv aw

ace EV Eevavwa A ee ee wet me ee

Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 30 of 31 PagelD 528

PORTER & ORRISON, LLP
ATTORNEYS AT LAW
1135 LENOX TOWERS
3400 PEACHTREE ROAD, N. E.
ATLANTA, GEORGIA 30326
404/233-2334
J. ALEXANDER PORTER FACSIMILE 404/231-5318

January 31, 2005
VIA FACSIMILE/AND U.S. MAIL

Bryon Romine, Esq.
Kessler & Collins, P.C.
$950 Sherry Lane
Suite 222

Dallas, TX 75225

Re: Kodiak Products Co., Inc. v. Tie Down, Inc.
Civil Action No. 4-03CV1474-Y
In the U.S. District Court for the Northern District
of Texas, Forth Worth Division

Dear Bryan:

I am in teceipt of your letter of January 27, 2005, regarding the depositions which
we desire to take.

First, let me say that we will not agree to your conditions.

T simply cannot understand why I am accused of “taking a mile when given an
inch,” either mm this instance or otherwise in this case. But for consenting to a preliminary
injunction, I have agreed to every request by you that has been made including two
discovery extensions. My requests to take your client’s depositions have not been
unreasonable. You have successfully put them off at every turn.

On at least two occasions in just the recent past, Mr. Glidewell’s deposition has
been postponed at your firm’s request. Most recently, Mr. Kessler stated that he would
agree to the taking of Mr. Glidewell’s deposition after January 28, 2005, the close of
discovery. All of this came up in the context of trying to resolve the case. Mr. Kessler’s
latest proposal to Tie Down in essence was that Kodiak would agree to a stipulation
dismissing the casc, with prejudice upon an agreed order but that Tie Down would
reserve the night to seek attorneys’ fees and costs against Kodiak. I sent a counter-
proposal agreeing in principal, but reserving limited discovery regarding the attorneys’
fees issue. In our discussions surrounding these proposals, all of which took place last
week, I told Mr. Kesslcr that since I had never taken discovery depositions of Kodiak,

Case 4:03-cv-01474-Y Document 78 Filed 01/31/05 Page 31 of 31 PagelD 529

VIA FACSIMILE/AND U.S. MAIL
Bryon Romine, Esq.

January 31, 2005

Page Two

and since the discovery period was about to lapse, I wanted to be protected if the
stipulation concept did not work. I told him that I wanted to take the deposition of Mr.
Jerry Dolezal as well as that of Mr. Glidewell. I had told you that in the week prior and
suggested January 27, 2005 for both witnesses. He agreed that I could take Mr.
Glidewell’s deposition beyond January 28, 2005. Your email to me of January 25, 2005,
was apparently a revocation of Gary’s promise. The next day, you questioned making
Mr. Dolezal available. In the meantime, on January 26, 2005, you also advised me that
Kodiak would not accept any stipulation that reserved discovery and that you were going
to file a motion to dismiss the case.

Whereas you bave finally agreed to make Mr. Glidewell available, you want to
limit the time for his exarnmmation and the scope of the subject matter, conditions which
your letter says were previously discussed, but were not. No such limitations were
imposed when Mr. MacKarvich’s deposition was taken. These conditions are simply not

acceptable.

When this litigation commenced, Mr. MacKarvich advised Mr. Glidewell that the
46250 caliper was out of production and would no longer be sold when inventory was
deplenished because of Tie Down’s introduction of the aluminum 46304. A non-
machined cast of the 46304 was sent to Mr. Glidewell.

Instead of discussing the matter further, Kodiak amended its complaint to include
the 46304 caliper and filed a motion for preliminary injunction regarding both calipers,
seeking to shut down Tie Down's caliper business. As you know, Tie Down has spent
approximately $150,000 in defending this frivolous litigation which we advised months
ago we felt was based on anticompetitive motives.

Best regards.

Sincerely,

P & Yate
J. Al EX ~
JAP/ewh
cc: Charles J. MacKarvich

